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3 (CASD Rev. 1/19) Judgment in a Criminal Case for Revocations | poe
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UNITED STATES DISTRICT COUR CLERK US Baer
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SOUTHERN DISTRICT OF CALIFORNIA — fay UMERN DISTRICT OF CORN

 
   
 

DEPUTY

 

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
(For Revocation of Probation or Supervised Release)
Vv (For Offenses Committed On or After November 1, 1987)
DIEGO RAMIREZ (1)

Case Number: 20CR3889-JLS

Daniel Lee, Federal Defenders Inc.

 

 

Defendant's Attormey
REGISTRATION NO. 96319298
Cc -
THE DEFENDANT:
admitted guilt to violation of allegation(s) No. 1
CJ was found guilty in violation of allegation(s) No. after denial of guilty.

 

Accordingly, the court has adjudicated that the defendant is guilty of the following allefationts?:

  

Allegation Number Nature of Violation
l Unlawful use of a controlled substance

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UTHERN DISTRICT OF CALIFORNIA

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Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this

June 17,2022

Date of Imposition of Sentence
CI ct D

HON. JANIS L. SAMMARTINO
UNITED STATES DISTRICT JUDGE

 
t Case 3:20-cr-03889-JLS Document 66 Filed 11/15/22 PagelD.115 Page 2 of 2
AO 245D (CASD Rev. 01/19) Judgment in a Criminal Case for Revocations

DEFENDANT: DIEGO RAMIREZ (1)

Judgment - Page 2 of 2
CASE NUMBER: 20CR3889-JLS

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
SEVEN (7) MONTHS

Sentence imposed pursuant to Title 8 USC Section 1326(b).
The court makes the following recommendations to the Bureau of Prisons:

OO

The defendant is remanded to the custody of the United States Marshal.

The defendant shall surrender to the United States Marshal for this district:
Ct] at A.M. on
O_ as notified by the United States Marshal.

 

q The defendant shall surrender for service of sentence at the institution designated by the Bureau of
Prisons:

[3 on or before
1 as notified by the United States Marshal.

C) as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
UW 20uL Yor 4
Defendant telyered on NOv | ' 20 “he, IV
at OO” oW , with a certified copy of this judgment.
Seven Steffoed
UNITED STATES MARSHAL

A4ljeme te -
By DEPUTY UNITED STATES MARSHAL

20CR3889-JLS
